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        ORDERED in the Southern District of Florida on February 19, 2019.




                                                                     Raymond B. Ray, Judge
                                                                     United States Bankruptcy Court
_____________________________________________________________________________




                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                          FORT LAUDERDALE DIVISION

         IN RE:                                                           CASE NO.: 18-24646-RBR
                                                                          CHAPTER:7
         Michael A. Pagano

                Debtor.
         ________________________________________/


                      AGREED ORDER GRANTING MOTION FOR RELIEF FROM STAY
                             (RE: 31 Seaside Court, Margate, New Jersey 08402)

                This cause came before the Court for consideration of the MOTION FOR RELIEF FROM STAY

        (D.E.12) filed by Nationstar Mortgage LLC d/b/a Mr. Cooper. The Court having reviewed the Motion,

        having been advised that the parties agree to the entry of this Order, and being otherwise fully advised in

        the premises does,:

                ORDER and ADJUDGE as follows:

               1.      The Motion for Relief is GRANTED subject to the below limitations.
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       2.      If the Chapter 7 Trustee has not sold the subject property by July 31, 2019, then Secured

Creditor, Nationstar Mortgage, LLC d/b/a Mr. Cooper, is granted in rem relief to take any and all steps

necessary to exercise any and all rights it may have in the collateral, to gain possession of said collateral,

to have such other and further in rem relief in accordance with non-bankruptcy law without further Order

of this Court. Secured Creditor shall not seek or obtain in personam relief against the Debtor.

       3.      That, after July 31, 2019, the automatic stay arising by reason of 11 U.S.C. §362 of the

Bankruptcy Code is terminated without further order of this Court as to Secured Creditor’s, Nationstar

Mortgage, LLC d/b/a Mr. Cooper, interest in the following property:




       Said property has a common address of 31 Seaside Court, Margate, NJ 08402.
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        4.       The aforementioned deadline of July 31, 2019 for sale of the property is without prejudice

to the Chapter 7 Trustee seeking an further extension of the automatic stay in the event there is a signed

contract for sale of the subject Property prior to July 31, 2019.

        5.       Secured Creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper, must either be paid in full

from proceeds of any sale or any short sale must first be approved by Secured Creditor.

        6.       The Court retains jurisdiction over this matter to enter such further relief as may necessary

to enforce this Order.

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Submitted by:

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Attorney Kenia Molina, Esq. is directed to furnish a conformed copy upon entry of this Order immediately
upon receipt of same and file a certificate of service with the Court.
